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                       UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW HAMPSHIRE
___________________________________
                                    )
NICOLE L. L’ETOILE                  )
      Plaintiff,                    )
                                    )   Docket No. 1:06-cv-390-JL
v.                                  )
                                    )
NEW ENGLAND FINISH SYSTEMS,         )
INC.                                )
      Defendant.                    )
____________________________________)

          PLAINTIFF’S FIFTH MOTION IN LIMINE TO EXCLUDE EVIDENCE
           AND TESTIMONY FROM OTHER WOMEN WHO WORKED FOR
            THE DEFENDANT AFTER MS. L’ETOILE WAS TERMINATED

        NOW COMES the Plaintiff, Nicole L’Etoile, by and through her attorneys, UPTON &

HATFIELD, LLP, and respectfully submits the within Motion in Limine to Exclude Evidence

and Testimony from Other Women Who Worked for the Defendant After Ms. L’Etoile Was

Terminated. In support of said Motion, the Plaintiff states as follows:

        1.       On or about April 14, 2004, the Defendant terminated Ms. L’Etoile.1

        2.       The Plaintiff suspects that the Defendant will attempt to introduce evidence and

testimony from other women who worked for NEFS either before, during, or after Ms.

L’Etoile’s employment with NEFS.

        3.       The Defendant may seek to introduce such evidence to suggest to the jury that

since those women did not experience a hostile environment, gender discrimination, or

retaliation, Ms. L’Etoile could not have experienced the discriminatory conduct and retaliation

that she alleges.



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  The Defendant denies that Plaintiff was ever “terminated” on April 14, 2004, and continues to maintain that she
was merely laid off again, despite Field Supervisor Ray Houle’s clear testimony as to the reasons he never called
Ms. L’Etoile back to work following the April 14, 2004 “layoff.” See Ex. A, Houle Depo. at 200.
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       4.      The evidence and testimony from other women who worked for the Defendant

after Ms. L’Etoile was terminated on April 14, 2004 is irrelevant and inadmissible pursuant to

Fed. R. Evid. 401, 402 and 403.

       5.      Evidence is relevant if it has “any tendency to make the existence of any fact that

is of consequence to the determination of the action more probably or less probable than it would

be without the evidence.” Fed. R. Evid. 401. All relevant evidence is admissible, except as

otherwise provided … by these rules … . Fed. R. Evid. 402. “Evidence which is not relevant is

not admissible.” Id.

       6.      The determination as to whether or not, between January 2002 and April 14,

2004, Ms. L’Etoile was discriminated or retaliated against will not be more or less probable with

testimony from women who worked for the Defendant after April 14, 2004 that they were not

discriminated or retaliated against. Simply put, discrimination could have occurred in one year

and not the next. Further, the Defendant finally provided anti-discrimination training after Ms.

L’Etoile filed her complaint at the New Hampshire Commission for Human Rights on the heels

of her April 14, 2004 termination. Therefore, testimony regarding an alleged work atmosphere

free from discrimination from April 14, 2004 forward would not be surprising, since the

Defendant has educated its workforce as to prohibited discriminatory behavior, and has likely

begun to treat any female employes within its employ very well in light of Ms. L’Etoile’s lawsuit

and upcoming trial. The resulting inference would be unfairly prejudicial against Ms. L’Etoile.

       7.      Even if this Court found testimony and/or documents relevant under Rule 401, the

evidence must also be considered under Rule 403. In that context, “evidence may be excluded if

its probative value is substantially outweighed by the danger of unfair prejudice, confusion of the




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issues, or misleading the jury, or by considerations of undue delay, waste of time, or needless

presentation of cumulative evidence.” Fed. R. Evid. 403.

          8.       The evidence should be excluded because any probative value that it may have is

substantially outweighed by the danger of unfair prejudice against Ms. L’Etoile. If this evidence

was admitted the jury could erroneously conclude that since no women other than Ms. L’Etoile,

(who worked for the Defendant after she did) experienced a hostile work environment, gender

discrimination, or retaliation then the Defendant did not discriminate against Ms. L’Etoile many

years prior. That conclusion would be unfairly prejudicial against Ms. L’Etoile.

          9.       Further, the admission of such evidence would result in undue delay and a waste

of time since the Plaintiff would need to explore the employment of each of the women who

testifies in order to ascertain the validity of her testimony, creating an unnecessary “trial within a

trial.”

          10.      For all the foregoing reasons, the Plaintiff submits that testimony and/or

documents from other women who were employed by the Defendant after Ms. L’Etoile was

terminated on April 14, 2004 ought to be excluded as irrelevant and/or inadmissible pursuant to

Fed. R. Evid. 402 and 403.

          11.      Pursuant to Local Rule 7.1(c), the Plaintiff has sought concurrence from the

Defendant for the filing of this Motion, and the Defendant does not concur.

          12.      Pursuant to Local Rule 7.1(a)(2), no memorandum of law is attached hereto,

because all legal citations are contained herein.

          WHEREFORE, the Plaintiff respectfully requests that this Honorable Court:

          A.       Grant Plaintiff’s Fifth Motion in Limine; and

          B.       Grant such other and further relief as may be equitable and just.




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                                                     Respectfully submitted,

                                                     Nicole L’Etoile

                                                     By Her Attorneys,

                                                     UPTON & HATFIELD, LLP

Date: August 7, 2008                         By:     /s/ Heather M. Burns______________
                                                     Heather M. Burns, Esq., Bar No. 8799
                                                     Beth A. Deragon, Esq., Bar No. 16347
                                                     10 Centre Street, P.O. Box 1090
                                                     Concord, N.H. 03302-1090
                                                     (603) 224-7791


                                       CERTIFICATION

       I hereby certify that the foregoing was served, this date, on the following persons via
Electronic Filing: Charla Bizios Stevens, Esq., counsel for the Defendant.

Date: August 7, 2008                                 /s/ Heather M. Burns
                                                     Heather M. Burns




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